          Case 2:16-cv-06287-PD Document 162 Filed 01/21/20 Page 1 of 2



UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA


JILL STEIN, RANDALL REITZ, ROBIN HOWE,
SHANNON KNIGHT, and EMILY COOK,

                       Plaintiffs,

       -against-
                                                             No. 16-CV-6287 (PD)
KATHY BOOCKVAR, in her official capacity as
Acting Secretary of the Commonwealth; and
JONATHAN MARKS, in his official capacity as
Commissioner of the Bureau of Commissions,
Elections, and Legislation,

                       Defendants.


       PLAINTIFFS’ REVISED WITNESS LIST FOR EVIDENTIARY HEARING

   1. J. Alex Halderman. Dr. Halderman is available to attend the hearing on February 18.

   2. Jonathan Marks (potentially adverse).

   3. Timothy Gates (potentially adverse).

   4. Kathleen Kotula (potentially adverse).

   5. Kathy Boockvar (potentially adverse).

   6. Joseph Lynch (potentially adverse).

   7. Monique Nesmith-Joyner (potentially adverse).

   8. Vienna Linderman*

   9. Joni Lipson*

   10. Scott McCarthy*

* Potential rebuttal witness, subject to reconsideration by the Court of in limine ruling.
         Case 2:16-cv-06287-PD Document 162 Filed 01/21/20 Page 2 of 2



Dated: January 21, 2020


                                          EMERY CELLI BRINCKERHOFF &
                                          ABADY LLP

                                          _______________/s/_______________
                                          Ilann M. Maazel, Esq.*
                                          Douglas E. Lieb, Esq.*
                                          600 Fifth Avenue, 10th Floor
                                          New York, NY 10020
                                          Phone: 212-763-5000
                                          Fax: 212-763-5001
                                          Email: imaazel@ecbalaw.com

                                          * Admitted pro hac vice

                                          MONTGOMERY McCRACKEN
                                          WALKER & RHOADS LLP

                                          John G. Papianou, Esq.
                                          Brett Waldron, Esq.
                                          1735 Market Street
                                          Philadelphia, PA 19103
                                          Phone: 215-772-7389

                                          Attorneys for Plaintiffs
